Case 1:20-cv-03926-PK            Document 112-2            Filed 04/29/25   Page 1 of 5 PageID #: 1237




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 TAKISHA REID,
                                                                     DECLARATION OF MATTHEW
                                                                     CHRISTIANA IN
                                    Plaintiff,                       SUPPORT OF PLAINTIFF’S
                                                                     RULE 60(B) MOTION

                  -against-
                                                                     20-CV-03926-PK

 CITY OF NEW YORK, et al.,

                                     Defendants.
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         MATTHEW CHRISTIANA, declares pursuant to 28 U.S.C. § 1746, under penalty of

 perjury, as follows:

                  1.       I am a Partner in the law office of Kopke Christiana & Rastetter LLP,

 attorney for Plaintiff Takisha Reid. As such, I am familiar with the facts set forth below.

                  2.       This declaration is submitted in support of Plaintiff’s Motion to Vacate

 Order and Judgment Pursuant to Fed. R. Civ. P. 60(B).

                  3.       I entered my appearance for Plaintiff on February 28, 2025.

                  4.       Immediately, on February 28, 2025, I reached out to prior counsel, Vik

 Pawar, in order to obtain Plaintiff’s case file. Mr. Pawar indicated he would provide the file the

 following week. Based on this representation, I assumed I would be in possession of the case

 materials by March 7, 2025.

                  5.       On March 6, 2025, Mr. Pawar e-mailed me some case related documents.

 Mr. Pawar’s email did not contain any discovery produced by any defendants. That same day, I

 followed up with Mr. Pawar and inquired into the missing documents. After multiple emails

 between myself and Mr. Pawar, on March 12, 2025, Mr. Pawar informed me that he had sent me
Case 1:20-cv-03926-PK          Document 112-2        Filed 04/29/25     Page 2 of 5 PageID #: 1238




 “all the documents” he had, and did not possess any of the discovery provided by any of the

 defendants and instructed me to obtain the documents from the defendants. As such, on March

 12, 2025, I e-mailed counsel for Defendant Howard and counsel for Defendant City of New

 York. Counsel for both defendants assured me they would assist me in obtaining the documents,

 which they did.

                 6.       On March 27, 2025, Defendant City provided me nearly all of the

 documents they had previously bates-stamped during discovery. Upon reviewing the discovery, I

 discovered documents produced by the City of New York which indicated that Defendant

 Howard not only employed a CI prior to Ms. Reid, but that Defendant Howard was accused of

 disclosing confidential information to that prior CI, whilst also soliciting her for sex—all of

 which sparked an internal affairs investigation on November 17, 2017—months before the

 assaults on Plaintiff.

                 7.       The investigation, captioned C.I. 18-95 and I/A 2017-45860, stemmed

 from allegations brought by a fellow Staten Island officer that Defendant Howard had (1)

 disclosed confidential information to a woman, (2) whom he was supervising as a confidential

 informant (hereinafter “C.I. #1”), and (3) whom he had been soliciting for sex.

                 8.       While Defendant Howard denied the allegations, during the course of that

 investigation, NYPD investigators uncovered an extraordinary volume of communication—over

 16,000 text messages and calls—exchanged between Defendant Howard and his confidential

 informant over a sixteen-month period, from July 20, 2016, to January 1, 2018.

                 9.       While that investigation was ongoing, another, separate investigation into

 Defendant Howard was opened in June 2018 following Plaintiff’s report to CCRB of her sexual

 assaults.
Case 1:20-cv-03926-PK          Document 112-2       Filed 04/29/25      Page 3 of 5 PageID #: 1239




                10.     Because Defendant Howard was already under investigation for similar

 sexual misconduct against a female C.I. working under him, the investigators handling Plaintiff’s

 complaint actively sought information from the earlier case, which had been formally classified

 as involving “similar allegations.”

                11.     The investigation further revealed that Detective Howard had supervised

 two confidential informants—C.I. # 1 and Plaintiff—and his conduct with both was the subject

 of internal investigations.

                12.     Upon discovering this information, on March 28, 2025, I contacted

 Plaintiff. Plaintiff informed me that she was unaware that the negligent hiring, training, retention,

 and screening claim had been dismissed, and that she had never consented to the dismissal.

                13.     After first attempting to call prior counsel, Vik Pawar, on April 2, 2025, I

 e-mailed Mr. Pawar to inquire as to why he voluntarily dismissed the claims against the City of

 New York for negligent hiring, retention, training, and screening. Moreover, I asked Mr. Pawar

 if he discussed with Ms. Reid prior to the dismissal, and if he had documentation showing that

 she had consented.

                14.     Mr. Pawar initially did not respond to my emails or phone calls. But, on

 April 4, 2025, Mr. Pawar responded via email that “nothing in the case was done without her

 consent.” When asked for documentation reflecting Mr. Pawar’s assertions, he did not respond.

                15.     On April 3, 2025, I separately reached out to prior co-counsel, Devon

 Radlin. I also sent an e-mail to her and followed up by phone again. Mr. Radlin has not returned

 my phone calls or e-mail.

                16.     On April 4, 2025, I emailed Mr. Pawar and Ms. Radlin once again, and

 individually sent them a similar email:
Case 1:20-cv-03926-PK        Document 112-2        Filed 04/29/25      Page 4 of 5 PageID #: 1240




                To be forthright, it is my understanding that Ms. Reid never
                consented to the dismissal of the City’s negligent
                retention/supervision claim. Given the evidence, I believe this claim
                was strong enough to survive summary judgment. As such, I believe
                a motion under Rule 60(b)(1) for relief from that judgment is
                justified, as her consent was required for dismissal.

                That said, if you have any documentary evidence demonstrating that
                consent was given, and that my understanding is incorrect, please do
                provide it to me by Monday. If you do not have such documentation
                or believe your co-counsel may, please let me know that as well. As
                I’m sure you can appreciate, this is rather time sensitive.

                17.    I did not receive a response from either.

                18.    Because Mr. Pawar had previously indicated that he had provided me with

 his entire file, I reviewed the documents provided by Mr. Pawar once again and was unable to

 find any documentation evincing that even a discussion with Plaintiff had been had prior to

 dismissing the City claims—let alone any documentation evincing her consent.

                19.    On April 7, 2025, I received a number of pertinent documents previously

 produced by the City, by counsel for Defendant Howard. While I am still missing at least one

 pertinent document, I believe I am now in receipt of the vast majority of the underlying case file.



 Dated: Brooklyn, New York
 April 29, 2025


                                       By:     ___________________________
                                              Matthew Christiana
                                              KOPKE CHRISTIANA & RASTETTER LLP
                                              199 Cook Street, Suite 308
                                              Brooklyn New York, 11206

                                              Attorney for Plaintiff Takisha Reid
Case 1:20-cv-03926-PK     Document 112-2         Filed 04/29/25   Page 5 of 5 PageID #: 1241




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